Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Jacqueline
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        J
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   DiSilvio
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-7330
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
Debtor 1   Jacqueline J DiSilvio                                                                      Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 24 Glenoble Ct
                                 Oak Brook, IL 60523
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cook
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
Debtor 1    Jacqueline J DiSilvio                                                                         Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
Debtor 1    Jacqueline J DiSilvio                                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
Debtor 1    Jacqueline J DiSilvio                                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Debtor 1    Jacqueline J DiSilvio                                                                         Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Jacqueline J DiSilvio
                                 Jacqueline J DiSilvio                                             Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     October 5, 2017                                   Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
Debtor 1   Jacqueline J DiSilvio                                                                          Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Konstantine Sparagis                                           Date         October 5, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Konstantine Sparagis
                                Printed name

                                Law Offices Of Konstantine Sparagis
                                Firm name

                                900 W. Jackson Blvd.
                                Ste. 4E
                                Chicago, IL 60607
                                Number, Street, City, State & ZIP Code

                                Contact phone     312.753.6956                               Email address         gus@atbankruptcy.com
                                6256702
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
 Fill in this information to identify your case:

 Debtor 1                   Jacqueline J DiSilvio
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             650,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              36,265.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             686,265.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          4,874,342.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          5,657,063.20


                                                                                                                                     Your total liabilities $           10,531,405.20


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,322.76

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,279.43

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
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 Debtor 1      Jacqueline J DiSilvio                                                      Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Jacqueline J DiSilvio
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        24 Glenoble Ct                                                                 Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Oak Brook                         IL        60523-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $650,000.00                $650,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Cook                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Individual Real Estate


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $650,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1        Jacqueline J DiSilvio                                                                              Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Cadillac                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      CTS                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2016                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                    2000                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $30,000.00                 $30,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $30,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Miscellaneous Household Goods                                                                                                   $3,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Miscellaneous paintings and pictures                                                                                                $10.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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 Debtor 1         Jacqueline J DiSilvio                                                                                       Case number (if known)

        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Miscellaneous Clothing                                                                                                  $1,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Miscellaneous Costume Jewelry                                                                                             $500.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            Dog                                                                                                                     Unknown


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $4,510.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash on Hand                         $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               Checking Account with Pan American Bank                           $1,000.00



                                              17.2.                                               Checking Account with Fifth Third                                     $50.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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 Debtor 1         Jacqueline J DiSilvio                                                                       Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                Tyson Inc. stock (50% interest)                                                                  $500.00


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                             % of ownership:

                                            DMD Services, Inc. d/b/a DMD Demolition (95%
                                            owner) (closed)                                                         95%          %                   $5.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          Pension Plan                      Pension Plan Local 134 IBEW                                        Unknown


                                                                            Medicare                                                           Unknown


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                                Potential contingent unvested beneficiary of mother                                            Unknown


                                                Interest in Estate of Dominick J. Disilvio (Case No: 15 P 3727)                                      $0.00




Official Form 106A/B                                                   Schedule A/B: Property                                                        page 4
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 Debtor 1        Jacqueline J DiSilvio                                                                                           Case number (if known)

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $1,755.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.



Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 5
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 Debtor 1         Jacqueline J DiSilvio                                                                                                 Case number (if known)

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $650,000.00
 56. Part 2: Total vehicles, line 5                                                                           $30,000.00
 57. Part 3: Total personal and household items, line 15                                                       $4,510.00
 58. Part 4: Total financial assets, line 36                                                                   $1,755.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $36,265.00              Copy personal property total       $36,265.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $686,265.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 6
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 Fill in this information to identify your case:

 Debtor 1                 Jacqueline J DiSilvio
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      24 Glenoble Ct Oak Brook, IL 60523                             $650,000.00                               $15,000.00      735 ILCS 5/12-901
      Cook County
      Individual Real Estate                                                               100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                          any applicable statutory limit

      2016 Cadillac CTS 2000 miles                                    $30,000.00                                 $2,400.00     735 ILCS 5/12-1001(c)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Miscellaneous Household Goods                                    $3,000.00                                 $1,000.00     735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Miscellaneous Clothing                                           $1,000.00                                      100%     735 ILCS 5/12-1001(a)
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Miscellaneous Costume Jewelry                                       $500.00                                  $100.00     735 ILCS 5/12-1001(b)
      Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Jacqueline J DiSilvio                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash on Hand                                                        $200.00                                   $200.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking Account with Pan                                        $1,000.00                                  $1,000.00        735 ILCS 5/12-1001(b)
     American Bank
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking Account with Fifth Third                                    $50.00                                    $50.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Tyson Inc. stock (50% interest)                                     $500.00                                   $500.00        735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 18.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     DMD Services, Inc. d/b/a DMD                                           $5.00                                     $5.00       735 ILCS 5/12-1001(b)
     Demolition (95% owner) (closed)
     95%                                                                                   100% of fair market value, up to
     Line from Schedule A/B: 19.1                                                          any applicable statutory limit

     Pension Plan: Pension Plan Local                                 Unknown                                         100%        735 ILCS 5/12-1006
     134 IBEW
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Medicare                                                         Unknown                                         100%        735 ILCS 5/12-704
     Line from Schedule A/B: 21.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Jacqueline J DiSilvio
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     HSBC                                     Describe the property that secures the claim:               $285,000.00               $650,000.00                     $0.00
         Creditor's Name                          24 Glenoble Ct Oak Brook, IL 60523
                                                  Cook County
                                                  Individual Real Estate
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 0117                            apply.
         Palatine, IL 60055                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred                                    Last 4 digits of account number        1279

                                                                                                                                                            $4,185,000.0
 2.2     Northbrook Bank                                                                                    $4,550,000.00               $650,000.00
                                                  Describe the property that secures the claim:                                                                        0
         Creditor's Name                          24 Glenoble Ct Oak Brook, IL 60523
                                                  Cook County
                                                  Individual Real Estate
                                                  As of the date you file, the claim is: Check all that
         1100 Waulkegan Rd                        apply.
         Northbrook, IL 60062                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 Jacqueline J DiSilvio                                                                               Case number (if know)
               First Name                  Middle Name                      Last Name


 Date debt was incurred          2008                        Last 4 digits of account number         1254

         Santander Consumer
 2.3                                                                                                                $39,342.00           $30,000.00       $9,342.00
         Usa                                        Describe the property that secures the claim:
         Creditor's Name                            2016 Cadillac CTS 2000 miles

                                                    As of the date you file, the claim is: Check all that
         Po Box 961245                              apply.
         Ft Worth, TX 76161                              Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Lease
       community debt

                                 Opened
                                 03/17 Last
                                 Active
 Date debt was incurred          5/22/17                     Last 4 digits of account number         1000



   Add the dollar value of your entries in Column A on this page. Write that number here:                                $4,874,342.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $4,874,342.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     Jacqueline J DiSilvio
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority              Nonpriority
                                                                                                                                              amount                amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                                  $0.00               $0.00                  $0.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 53
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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1      Adam C. Toosely                                            Last 4 digits of account number       0706                                                   $0.00
          Nonpriority Creditor's Name
          Freeborn & Peters, LLP                                     When was the debt incurred?
          311 S. Wacker Dr., Ste. 3000
          Chicago, IL 60606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only - Attorneys for Northbrook
              Yes                                                       Other. Specify   Bank & Trust


 4.2      Allstate-Commercial Auto Policy                            Last 4 digits of account number       7330                                               $542.54
          Nonpriority Creditor's Name
          PO BOX 4344                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3      Amex                                                       Last 4 digits of account number       2833                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/02 Last Active
          Po Box 297871                                              When was the debt incurred?           12/13
          Fort Lauderdale, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.4      Amex Dsnb                                                  Last 4 digits of account number       9970                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 09/06 Last Active
          9111 Duke Blvd                                             When was the debt incurred?           2/20/09
          Mason, OH 45040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.5      AT & T Business                                            Last 4 digits of account number       7330                                             $1,000.00
          Nonpriority Creditor's Name
          PO Box 5080                                                When was the debt incurred?
          Carol Stream, IL
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.6      AT&T                                                       Last 4 digits of account number       7330                                             $7,204.84
          Nonpriority Creditor's Name
          PO Box 5080                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.7      AT&T Capital Services                                      Last 4 digits of account number       7330                                           $12,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          13160 Collections Center Dr.
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8      AT&T Capital Services                                      Last 4 digits of account number       7330                                             $3,712.60
          Nonpriority Creditor's Name
          13160 Collections Center Dr.                               When was the debt incurred?
          Chicago, IL 60693
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.9      AT&T RM                                                    Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          909 Chestnut St                                            When was the debt incurred?
          Saint Louis, MO 63101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 0        Atlas Bobcat, Inc.                                         Last 4 digits of account number       7330                                               $163.13
          Nonpriority Creditor's Name
          5050 N. River Rd.                                          When was the debt incurred?
          Schiller Park, IL 60176
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 1        Axis Response Group                                        Last 4 digits of account number       7330                                               $250.00
          Nonpriority Creditor's Name
          1134 Wildwood Ln                                           When was the debt incurred?
          Glenview, IL 60025
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 2        Blue Cross Blue Shield of Illinois                         Last 4 digits of account number       7330                                             $4,075.00
          Nonpriority Creditor's Name
          300 East Randolph Street                                   When was the debt incurred?
          Chicago, IL 60601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 3        Bluebook                                                   Last 4 digits of account number       7330                                             $2,872.00
          Nonpriority Creditor's Name
          PO Box 500                                                 When was the debt incurred?
          Jefferson Valley, NY 10535
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection Loan


 4.1
 4        Bluff City Materials                                       Last 4 digits of account number       7330                                             $7,586.00
          Nonpriority Creditor's Name
          2252 Southwind Blvd                                        When was the debt incurred?
          Bartlett, IL 60103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 5        Capital One                                                Last 4 digits of account number       6928                                             $9,420.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/08 Last Active
          Po Box 30281                                               When was the debt incurred?           8/06/15
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 6        Capital One                                                Last 4 digits of account number       2332                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/07 Last Active
          Po Box 30281                                               When was the debt incurred?           07/15
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 7        Capital One                                                Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. Box 5294                                              When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 8        Capital One Bank (USA)                                     Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 6492                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 9        Cardmember Service                                         Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO BOX 15153                                               When was the debt incurred?
          Wilmington, DE 19886
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 0        Central Laborer Fringe Benefit Act.                        Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 1267                                                When was the debt incurred?
          Jacksonville, IL 62651
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 1        Chase Card                                                 Last 4 digits of account number       6390                                                   $1.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/07 Last Active
          Po Box 15298                                               When was the debt incurred?           5/01/09
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.2
 2        Chicago Tire, Inc.                                         Last 4 digits of account number       7330                                             $5,458.00
          Nonpriority Creditor's Name
          16001 Van Drunen Rd Ste 2                                  When was the debt incurred?
          South Holland, IL 60473
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 3        Chicago Trucking Inc.                                      Last 4 digits of account number       7330                                             $3,105.00
          Nonpriority Creditor's Name
          5494 W. Roosevelt Rd.                                      When was the debt incurred?
          Chicago, IL 60644
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 4        Christofano Equipment Co., Inc.                            Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          643 Harlem Ave                                             When was the debt incurred?
          Chicago Ridge, IL 60415
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.2
 5        Chuhak & Tecson                                            Last 4 digits of account number       7330                                           $13,682.00
          Nonpriority Creditor's Name
          30 S. Wacker Dr., 26th Fl                                  When was the debt incurred?
          Chicago, IL 60606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 6        City of Chicago Cost Recovery                              Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 88292                                               When was the debt incurred?
          Chicago, IL 60680
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 7        City of Chicago Dept. of Finance                           Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 88292                                               When was the debt incurred?
          Chicago, IL 60680
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.2
 8        City of Chicago Dept. Revenue                              Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 88292                                               When was the debt incurred?
          Chicago, IL 60680
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 9        ComEd                                                      Last 4 digits of account number       7330                                               $457.00
          Nonpriority Creditor's Name
          PO Box 6111                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 0        Commercial Credit Group, Inc.                              Last 4 digits of account number       1501                                                   $0.00
          Nonpriority Creditor's Name
          2135 City Gate Lane, Ste. 440                              When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.3
 1        Commercial Creidt Group                                    Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          2135 City Gate Ln                                          When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 2        Countryside Landfill                                       Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 4647                                                When was the debt incurred?
          Carol Stream, IL 60188
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 3        Dsnb Bloom                                                 Last 4 digits of account number       7341                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 09/06 Last Active
          9111 Duke Blvd                                             When was the debt incurred?           06/17
          Mason, OH 45040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.3
 4        Everlights                                                 Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          8027 N. Lawndale Avenue                                    When was the debt incurred?
          Skokie, IL 60076
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 5        Ford Creidt                                                Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. Box 790119                                            When was the debt incurred?
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 6        Future Environmental                                       Last 4 digits of account number       7330                                             $3,437.00
          Nonpriority Creditor's Name
          19701 S. 97th Avenue                                       When was the debt incurred?
          Mokena, IL 60448
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.3
 7        Gensco Equipment                                           Last 4 digits of account number       7330                                               $288.00
          Nonpriority Creditor's Name
          53 Carlaw Ave.                                             When was the debt incurred?
          Toronto, Canada
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 8        Grainger, Inc.                                             Last 4 digits of account number       7330                                               $148.76
          Nonpriority Creditor's Name
          Mw H-11                                                    When was the debt incurred?
          Palatine, IL 60038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 9        Heartland Recycling, LLC                                   Last 4 digits of account number       8028                                             $4,800.00
          Nonpriority Creditor's Name
          J Haber/Kalcheim Haber LLC                                 When was the debt incurred?
          134 N LaSalle St., Ste. 2100
          Chicago, IL 60602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.4
 0        Heartland Recycling, LLC                                   Last 4 digits of account number       7330                                             $4,782.36
          Nonpriority Creditor's Name
          J Haber/Kalcheim Haber LLC                                 When was the debt incurred?
          134 N LaSalle St., Ste. 2100
          Chicago, IL 60602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.4
 1        Home Depot Creidt Ser.                                     Last 4 digits of account number       7330                                               $899.90
          Nonpriority Creditor's Name
          PO BOX 6029 THE LAKES NV                                   When was the debt incurred?
          The Lakes, NV 88901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.4
 2        Horan Screening & Crushing, Inc.                           Last 4 digits of account number       7330                                             $1,770.66
          Nonpriority Creditor's Name
          2328 E Lincoln Highway                                     When was the debt incurred?
          Joliet, IL 60436
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.4
 3        Hoving Pitstop                                             Last 4 digits of account number       7330                                               $163.82
          Nonpriority Creditor's Name
          2351 Powis Rd                                              When was the debt incurred?
          West Chicago, IL 60185
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.4
 4        HUB International Midwest                                  Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          55 E. Jackson Blvd                                         When was the debt incurred?
          Chicago, IL 60604
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.4
 5        HUB International Midwest Limited                          Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          601 Oakmont Lane                                           When was the debt incurred?
          Westmont, IL 60559
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.4
 6        IDES                                                       Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          33 South State Street                                      When was the debt incurred?
          Chicago, IL 60603
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.4
 7        IL OS/OW Permits                                           Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          2300 S. Dirksen Parkway                                    When was the debt incurred?
          Springfield, IL 62764
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.4
 8        Int'l Union of Ops Eng Local 150                           Last 4 digits of account number       9511                                           $90,425.00
          Nonpriority Creditor's Name
          c/o Steven Davidson                                        When was the debt incurred?
          6140 Joliet Rd.
          La Grange, IL 60525
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Judgement creditor




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.4
 9        Internal Revenue Service                                   Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. Box 802501                                            When was the debt incurred?
          Cincinnati, OH 45280
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.5
 0        Interunited Trucking Corp.                                 Last 4 digits of account number       1192                                                   $0.00
          Nonpriority Creditor's Name
          c/o Lyman & Nielsen LLC                                    When was the debt incurred?
          1301 W 22nd St., Ste. 914
          Oak Brook, IL 60523
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice Only


 4.5
 1        Interunited Trucking Corp.                                 Last 4 digits of account number       7330                                           $79,621.40
          Nonpriority Creditor's Name
          c/o Lyman & Nielsen LLC                                    When was the debt incurred?
          1301 W 22nd St., Ste. 914
          Oak Brook, IL 60523
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.5
 2        IUOE                                                       Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO BOX 94427                                               When was the debt incurred?
          Chicago, IL 60690
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.5
 3        JP Construction, Inc.                                      Last 4 digits of account number       4328                                                   $0.00
          Nonpriority Creditor's Name
          Elizabeth Efird                                            When was the debt incurred?
          1997 W. Greenleaf Dr.
          Round Lake, IL 60073
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only


 4.5
 4        JP General Construction, Inc.                              Last 4 digits of account number       7330                                             $7,550.00
          Nonpriority Creditor's Name
          300 W Golf Rd                                              When was the debt incurred?
          Mount Prospect, IL 60056
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.5
 5        KCS Computer Technology Inc.                               Last 4 digits of account number       7330                                               $948.93
          Nonpriority Creditor's Name
          9524 Franklin Avenue                                       When was the debt incurred?
          Franklin Park, IL 60131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.5
 6        Konica Minolta Business Solutions                          Last 4 digits of account number       7330                                             $2,428.39
          Nonpriority Creditor's Name
          21146 Network Place                                        When was the debt incurred?
          Chicago, IL 60673
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.5
 7        Konica Minolta Business Systems                            Last 4 digits of account number       7330                                               $276.47
          Nonpriority Creditor's Name
          3020 Woodcreek Drive Suite E                               When was the debt incurred?
          Downers Grove, IL 60515
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.5
 8        Laborers Pension & Welfare Funds                           Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          33367 Treasury Center                                      When was the debt incurred?
          Chicago, IL 60694
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.5      Laborers Pension & Welfare
 9        Training                                                   Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          33367 Treasury Center                                      When was the debt incurred?
          Chicago, IL 60694
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.6
 0        Laborers Pension Fund                                      Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          11465 W. Cermak Road                                       When was the debt incurred?
          Westchester, IL 60154
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.6
 1        Laborers Work Dues Fund                                    Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          Department 4334                                            When was the debt incurred?
          Carol Stream, IL 60122
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.6
 2        Lakeshore Recycling Systems                                Last 4 digits of account number       7330                                           $49,981.00
          Nonpriority Creditor's Name
          3152 S California Ave                                      When was the debt incurred?
          Chicago, IL 60608
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.6
 3        Laraway RDF                                                Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 4647                                                When was the debt incurred?
          Carol Stream, IL 60188
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.6
 4        Law Offices of Ira T Nevel                                 Last 4 digits of account number       4431                                                   $0.00
          Nonpriority Creditor's Name
          175 N Franklin St., Ste. 201                               When was the debt incurred?
          Chicago, IL 60606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only - Attorneys for HSBC


 4.6
 5        Leach Enterprises, Inc.                                    Last 4 digits of account number       7330                                             $1,605.26
          Nonpriority Creditor's Name
          4304 IL-176                                                When was the debt incurred?
          Crystal Lake, IL 60014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.6
 6        Liberty Mutual Insurance Company                           Last 4 digits of account number       7330                                               $250.00
          Nonpriority Creditor's Name
          1 N. Franklin Street, Suite 3025                           When was the debt incurred?
          Chicago, IL 60606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.6
 7        Lindahl Bros, Inc.                                         Last 4 digits of account number       7330                                           $12,229.34
          Nonpriority Creditor's Name
          622 E Green St                                             When was the debt incurred?
          Bensenville, IL 60106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.6
 8        Local 731 Checkoff                                         Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1000 Burr Ridge Pkwy                                       When was the debt incurred?
          Willowbrook, IL 60527
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.6
 9        Local 731 I.B. of T                                        Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1000 Burr Ridge Pkwy                                       When was the debt incurred?
          Willowbrook, IL 60527
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.7
 0        Local 731 I.B. of T Pension                                Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1000 Burr Ridge Pkwy                                       When was the debt incurred?
          Willowbrook, IL 60527
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.7
 1        Local 731 I.B. of T Welfare                                Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1000 Burr Ridge Pkwy                                       When was the debt incurred?
          Willowbrook, IL 60527
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.7
 2        Local 731, LMCC Task Force                                 Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1000 Burr Ridge Pkwy                                       When was the debt incurred?
          Willowbrook, IL 60527
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.7
 3        M.O.E. Apprenticeship Fund                                 Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. BOX 74632                                             When was the debt incurred?
          Chicago, IL 60675
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.7
 4        M.O.E. CRF                                                 Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. BOX 74632                                             When was the debt incurred?
          Chicago, IL 60675
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.7
 5        M.O.E. Fringe Benefits Funds                               Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          6150 Joliet Rd                                             When was the debt incurred?
          La Grange, IL 60525
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.7
 6        M.O.E. Pension Trust Fund                                  Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. BOX 74632                                             When was the debt incurred?
          Chicago, IL 60675
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.7      M.O.E. Retirement Enhancement
 7        Fund                                                       Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. BOX 74632                                             When was the debt incurred?
          Chicago, IL 60675
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.7
 8        M.O.E. Vacation Savings Plan                               Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. BOX 74632                                             When was the debt incurred?
          Chicago, IL 60675
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.7
 9        M.O.E. Welfare Fund                                        Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. BOX 74632                                             When was the debt incurred?
          Chicago, IL 60675
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8
 0        M.S.P. Construction                                        Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          v                                                          When was the debt incurred?
          Bolingbrook, IL 60440
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8
 1        M.T. Transit, Inc.                                         Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          4450 South Morgan St                                       When was the debt incurred?
          Chicago, IL 60609
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.8
 2        Master Hydraulics                                          Last 4 digits of account number       7330                                           $14,101.75
          Nonpriority Creditor's Name
          540 Morse Ave                                              When was the debt incurred?
          Schaumburg, IL 60193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8
 3        MAT Construction, Inc.                                     Last 4 digits of account number       7330                                           $38,073.60
          Nonpriority Creditor's Name
          4450 S Morgan St                                           When was the debt incurred?
          Chicago, IL 60609
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8
 4        McGladrey, LLP                                             Last 4 digits of account number       7330                                           $26,043.00
          Nonpriority Creditor's Name
          20 N. Martingale Road Suite 500                            When was the debt incurred?
          Schaumburg, IL 60173
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.8
 5        McMaster-Carr                                              Last 4 digits of account number       7330                                             $1,184.24
          Nonpriority Creditor's Name
          PO Box 7690                                                When was the debt incurred?
          Chicago, IL 60680
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8
 6        Meade Electric Co.                                         Last 4 digits of account number       7330                                             $3,221.00
          Nonpriority Creditor's Name
          9550 W 55th St # A                                         When was the debt incurred?
          La Grange, IL 60525
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8
 7        Meltzer, Purtill, & Steele, LLC                            Last 4 digits of account number       7330                                           $37,271.22
          Nonpriority Creditor's Name
          1515 E. Woodfield Road                                     When was the debt incurred?
          Schaumburg, IL 60173
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Colection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.8
 8        Midcity Plumbing                                           Last 4 digits of account number       9306                                                   $0.00
          Nonpriority Creditor's Name
          c/o Michael Higgins                                        When was the debt incurred?
          6204 W 63rd St.
          Chicago, IL 60638
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.8
 9        Midcity Plumbing, Inc.                                     Last 4 digits of account number       7330                                           $15,480.00
          Nonpriority Creditor's Name
          321 S County Line                                          When was the debt incurred?
          Franklin Park, IL 60131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.9
 0        Mohr Oil Co.                                               Last 4 digits of account number       6551                                                   $0.00
          Nonpriority Creditor's Name
          c/o Edmund P Wanderling                                    When was the debt incurred?
          2505 S Des Plaines Ave.
          Riverside, IL 60546
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 31 of 53
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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.9
 1        Mohr Oil Co.                                               Last 4 digits of account number       7330                                           $51,047.72
          Nonpriority Creditor's Name
          7340 Harrison St                                           When was the debt incurred?
          Forest Park, IL 60130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.9      Murphy's Contractors Equipment,
 2        Inc                                                        Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          2420 N River Rd                                            When was the debt incurred?
          River Grove, IL 60171
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.9
 3        NAPA Genuine Parts Co.                                     Last 4 digits of account number       7330                                               $718.39
          Nonpriority Creditor's Name
          5959 Collections Center Drive                              When was the debt incurred?
          Chicago, IL 60693
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.9
 4        National Advertisers Acc. Inc.                             Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O Box 595                                                When was the debt incurred?
          Mount Prospect, IL 60056
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.9
 5        National Demolition Association                            Last 4 digits of account number       7330                                             $1,000.00
          Nonpriority Creditor's Name
          16 N Franklin St                                           When was the debt incurred?
          Doylestown, PA 18901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.9
 6        National Lift Truck, Inc                                   Last 4 digits of account number       7330                                             $9,900.00
          Nonpriority Creditor's Name
          3333 Mt Prospect Rd                                        When was the debt incurred?
          Franklin Park, IL 60131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.9
 7        NB PAD Holdings V                                          Last 4 digits of account number       5844                                                   $0.00
          Nonpriority Creditor's Name
          c/o Freeborn & Peters                                      When was the debt incurred?
          311 S. Wacker Dr., Ste. 3000
          Chicago, IL 60606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only


 4.9
 8        Nicor Gas                                                  Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. Box 5407                                              When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.9
 9        Nicor Gas (Jobs)                                           Last 4 digits of account number       7330                                               $918.92
          Nonpriority Creditor's Name
          PO Box 1630                                                When was the debt incurred?
          Aurora, IL 60507
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 00       North Shore Gas                                            Last 4 digits of account number       7330                                               $750.00
          Nonpriority Creditor's Name
          3001 Grand Ave                                             When was the debt incurred?
          Waukegan, IL 60085
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 01       Northbrook Bank                                            Last 4 digits of account number       0706                                         $4,555,000.00
          Nonpriority Creditor's Name
          1100 Waulkegan Rd                                          When was the debt incurred?
          Northbrook, IL 60062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Guaranty on business loan


 4.1
 02       O'Leary Contractors                                        Last 4 digits of account number       7330                                             $1,795.90
          Nonpriority Creditor's Name
          1031 North Cicero Avenue                                   When was the debt incurred?
          Chicago, IL 60651
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 03       Office of Emergency Management                             Last 4 digits of account number       7330                                               $450.00
          Nonpriority Creditor's Name
          121 N LaSalle Dr                                           When was the debt incurred?
          Chicago, IL 60602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 04       P & G Keene                                                Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          110 Foster Ave                                             When was the debt incurred?
          Bensenville, IL 60106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 05       Patten Industries, Inc.                                    Last 4 digits of account number       R588                                                   $0.00
          Nonpriority Creditor's Name
          Ryd Law Group, P.C.                                        When was the debt incurred?
          1900 Spring Rd., Ste. 216
          Oak Brook, IL 60523
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 06       Patten Industries, Inc.                                    Last 4 digits of account number       7330                                           $38,365.15
          Nonpriority Creditor's Name
          635 W. Lake St                                             When was the debt incurred?
          Elmhurst, IL 60126
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 07       Paul E. King                                               Last 4 digits of account number       4431                                                   $0.00
          Nonpriority Creditor's Name
          Michael J. Goldstein & Assoc.                              When was the debt incurred?
          77 W. Washington St., Ste. 900
          Chicago, IL 60602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Notice only - Attorneys for Northbrook
              Yes                                                       Other. Specify   Bank & Trust


 4.1
 08       Paychex                                                    Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          230 W Monroe St Suite 1020                                 When was the debt incurred?
          Chicago, IL 60606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 09       Payless Car Rental                                         Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          5401 W 47th St                                             When was the debt incurred?
          Chicago, IL 60638
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 10       Paypal Buyer CredIt/GEMB                                   Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 960080                                              When was the debt incurred?
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 11       Peoples Gas                                                Last 4 digits of account number       7330                                             $8,250.00
          Nonpriority Creditor's Name
          130 East Randolph Drive                                    When was the debt incurred?
          Chicago, IL 60601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 12       PetroLiance, LLC.                                          Last 4 digits of account number       7330                                             $4,012.79
          Nonpriority Creditor's Name
          PO Box 636824                                              When was the debt incurred?
          Cincinnati, OH 45263
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 13       Phh Mortgage Service                                       Last 4 digits of account number       1279                                             Unknown
          Nonpriority Creditor's Name
                                                                                                           Opened 06/01 Last Active
          1 Mortgage Way                                             When was the debt incurred?           6/24/16
          Mount Laurel, NJ 08054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Mortgage


 4.1
 14       PowerPlan                                                  Last 4 digits of account number       7330                                             $3,930.29
          Nonpriority Creditor's Name
          P.O. Box 650215                                            When was the debt incurred?
          Dallas, TX 75265
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 15       Powerscreen of Chicago, LTD.                               Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1212 S NAPER BLVD.                                         When was the debt incurred?
          Naperville, IL 60540
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 16       Praire State Water Systems, Inc.                           Last 4 digits of account number       7330                                             $1,100.00
          Nonpriority Creditor's Name
          48W557 IL-64                                               When was the debt incurred?
          Maple Park, IL 60151
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 17       Rapid Recovery, Inc.                                       Last 4 digits of account number       7330                                             $4,920.60
          Nonpriority Creditor's Name
          8945 W Bloomfield Rd                                       When was the debt incurred?
          Peoria, AZ 85381
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 18       Recycling Systems, Inc.                                    Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          3152 S California Ave                                      When was the debt incurred?
          Chicago, IL 60608
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 19       Reliable Asphalt Corp.                                     Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          2250 Southwind Blvd                                        When was the debt incurred?
          Bartlett, IL 60103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 20       Republic Services Trash                                    Last 4 digits of account number       7330                                               $759.13
          Nonpriority Creditor's Name
          2608 S Damen Ave                                           When was the debt incurred?
          Chicago, IL 60608
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collections




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 21       Richard J Clarson Local 731                                Last 4 digits of account number       V629                                          $446,248.00
          Nonpriority Creditor's Name
          Dowd Bloch Bennet et al.                                   When was the debt incurred?
          8 S. Michigan Ave., 19th Fl
          Chicago, IL 60603
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only - potential withdrawal liability


 4.1
 22       Rushmore Loan Mgmt                                         Last 4 digits of account number       2928                                           $33,551.00
          Nonpriority Creditor's Name
          PO Box 55004                                               When was the debt incurred?
          Irvine, CA 92619
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 23       Sandvik Customer Finance                                   Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          300 TECHNOLOGY COURT                                       When was the debt incurred?
          Smyrna, GA 30082
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1      Sargent Equipment & Repair
 24       Service                                                    Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          281 E Sauk Trl                                             When was the debt incurred?
          Chicago Heights, IL 60411
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 25       Schaeffer Mfg. Co.                                         Last 4 digits of account number       7330                                             $4,268.99
          Nonpriority Creditor's Name
          102 Barton Street                                          When was the debt incurred?
          Saint Louis, MO 63104
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 26       Scottsdale Insurance                                       Last 4 digits of account number       7609                                                   $0.00
          Nonpriority Creditor's Name
          c/o the CKB Firm                                           When was the debt incurred?
          30 N. LaSalle, #1520
          Chicago, IL 60602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 27       Scottsdale Insurance Co.                                   Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. Box 4120                                              When was the debt incurred?
          Scottsdale, AZ 85261
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 28       State Farm Fire                                            Last 4 digits of account number       0165                                                   $0.00
          Nonpriority Creditor's Name
          c/o Simon & McClosky Ltd.                                  When was the debt incurred?
          120 W. Madison, Ste. 1100
          Chicago, IL 60602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 29       State Farm Mutual                                          Last 4 digits of account number       6566                                                   $0.00
          Nonpriority Creditor's Name
          c/o James Odea                                             When was the debt incurred?
          10707 W. 159th St.
          Orland Park, IL 60467
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 30       The Horton Group ,Inc.                                     Last 4 digits of account number       7330                                             $2,821.50
          Nonpriority Creditor's Name
          10320 Orland Parkway                                       When was the debt incurred?
          Orland Park, IL 60467
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 31       Town of Cicero                                             Last 4 digits of account number       7330                                             $4,015.73
          Nonpriority Creditor's Name
          4949 W. Cermak Rd                                          When was the debt incurred?
          Cicero, IL 60804
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 32       Tredoc Tire Services                                       Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. Box 1248                                              When was the debt incurred?
          Bedford Park, IL 60499
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 33       Truck Tire Sales, Inc.                                     Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          426 W Pershing Rd                                          When was the debt incurred?
          Chicago, IL 60609
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 34       Tyco Integrated Security                                   Last 4 digits of account number       7330                                               $880.48
          Nonpriority Creditor's Name
          2010 Swift Drive                                           When was the debt incurred?
          Oak Brook, IL 60523
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 35       U.S. Treasury Internal Rev. Service                        Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1500 Pennsylvania Avenue                                   When was the debt incurred?
          Washington, DC 20220
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 36       United Rent-A-Fence                                        Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1500 W Fullerton Ave                                       When was the debt incurred?
          Addison, IL 60101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 37       US Fabrics, Inc.                                           Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          3904 Virginia Ave                                          When was the debt incurred?
          Cincinnati, OH 45227
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 38       Van Hoesen Industries, Inc.                                Last 4 digits of account number       0586                                                   $0.00
          Nonpriority Creditor's Name
          Lichtman Eisen P'ners, Ltd.                                When was the debt incurred?
          222 N. LaSalle St., Ste. 300
          Chicago, IL 60601
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Notice only




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 39       Van Hoesen Industries, Inc.                                Last 4 digits of account number       7330                                             $8,418.40
          Nonpriority Creditor's Name
          7n458 Garden Ave                                           When was the debt incurred?
          Roselle, IL 60172
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 40       Verizon Wireless                                           Last 4 digits of account number       7330                                             $1,416.29
          Nonpriority Creditor's Name
          PO Box 25505                                               When was the debt incurred?
          Lehigh Valley, PA 18002
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 41       Village of Elk Grove Village                               Last 4 digits of account number       7330                                             $1,514.50
          Nonpriority Creditor's Name
          901 Wellington Ave                                         When was the debt incurred?
          Elk Grove Village, IL 60007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 42       Village of Franklin Park                                   Last 4 digits of account number       7330                                               $250.00
          Nonpriority Creditor's Name
          9451 W. Belmont                                            When was the debt incurred?
          Franklin Park, IL 60131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 43       Village of Oak Brook                                       Last 4 digits of account number       7330                                               $318.53
          Nonpriority Creditor's Name
          1200 Oak Brook Rd                                          When was the debt incurred?
          Oak Brook, IL 60523
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 44       Village of Skokie                                          Last 4 digits of account number       7330                                               $850.00
          Nonpriority Creditor's Name
          5127 Oakton St                                             When was the debt incurred?
          Skokie, IL 60077
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 45       Waste Management                                           Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 4647                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 46       Waste Management -CID RDF                                  Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          P.O. Box 30241                                             When was the debt incurred?
          Lansing, MI 48909
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 47       Waste Management of Illinois                               Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 4648                                                When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 50 of 53
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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 48       Waste Mgmt. Bluff City Transfer                            Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1247 Gifford Rd.                                           When was the debt incurred?
          Elgin, IL 60121
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 49       Waveland Recycling, Inc.                                   Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          10525 Waveland Ave                                         When was the debt incurred?
          Franklin Park, IL 60131
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 50       West Side Tractor Sales                                    Last 4 digits of account number       7330                                                   $1.00
          Nonpriority Creditor's Name
          1400 Ogden Ave                                             When was the debt incurred?
          Naperville, IL 60563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 51 of 53
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 Debtor 1 Jacqueline J DiSilvio                                                                           Case number (if know)

 4.1
 51        Wisco Ind. Supply                                         Last 4 digits of account number       7330                                               $118.68
           Nonpriority Creditor's Name
           P.O. Box 88666                                            When was the debt incurred?
           Chicago, IL 60680
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection


 4.1
 52        WSI Infiinet Results, LLC.                                Last 4 digits of account number       7330                                               $900.00
           Nonpriority Creditor's Name
           362 E 4 Mile Rd                                           When was the debt incurred?
           Racine, WI 53402
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                          0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                          0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                          0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                          0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                          0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                          0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                          0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 52 of 53
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 Debtor 1 Jacqueline J DiSilvio                                                                      Case number (if know)

                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                              here.                                                                            $             5,657,063.20

                        6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.      $             5,657,063.20




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 53 of 53
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 Fill in this information to identify your case:

 Debtor 1                  Jacqueline J DiSilvio
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Jacqueline J DiSilvio
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         DMD Demolision                                                                       Schedule D, line
                                                                                                     Schedule E/F, line 4.72
                                                                                                     Schedule G
                                                                                                   Local 731, LMCC Task Force



    3.2         DMD Demolition                                                                       Schedule D, line
                                                                                                     Schedule E/F, line  4.12
                                                                                                     Schedule G
                                                                                                   Blue Cross Blue Shield of Illinois



    3.3         DMD Demolition                                                                       Schedule D, line
                                                                                                     Schedule E/F, line     4.14
                                                                                                     Schedule G
                                                                                                   Bluff City Materials




Official Form 106H                                                             Schedule H: Your Codebtors                                Page 1 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.22
                                                                                           Schedule G
                                                                                         Chicago Tire, Inc.



    3.5      DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.23
                                                                                           Schedule G
                                                                                         Chicago Trucking Inc.



    3.6      DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.25
                                                                                           Schedule G
                                                                                         Chuhak & Tecson



    3.7      DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.29
                                                                                           Schedule G
                                                                                         ComEd



    3.8      DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.36
                                                                                           Schedule G
                                                                                         Future Environmental



    3.9      DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.37
                                                                                           Schedule G
                                                                                         Gensco Equipment



    3.10     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.38
                                                                                           Schedule G
                                                                                         Grainger, Inc.



    3.11     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.40
                                                                                           Schedule G
                                                                                         Heartland Recycling, LLC




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 2 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.12     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.41
                                                                                           Schedule G
                                                                                         Home Depot Creidt Ser.



    3.13     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.42
                                                                                           Schedule G
                                                                                         Horan Screening & Crushing, Inc.



    3.14     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.43
                                                                                           Schedule G
                                                                                         Hoving Pitstop



    3.15     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line  4.51
                                                                                            Schedule G
                                                                                         Interunited Trucking Corp.



    3.16     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.54
                                                                                           Schedule G
                                                                                         JP General Construction, Inc.



    3.17     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.55
                                                                                           Schedule G
                                                                                         KCS Computer Technology Inc.



    3.18     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.56
                                                                                           Schedule G
                                                                                         Konica Minolta Business Solutions



    3.19     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.57
                                                                                           Schedule G
                                                                                         Konica Minolta Business Systems




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 3 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.20     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.62
                                                                                           Schedule G
                                                                                         Lakeshore Recycling Systems



    3.21     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.65
                                                                                           Schedule G
                                                                                         Leach Enterprises, Inc.



    3.22     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line  4.66
                                                                                            Schedule G
                                                                                         Liberty Mutual Insurance Company



    3.23     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line   4.67
                                                                                            Schedule G
                                                                                         Lindahl Bros, Inc.



    3.24     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.82
                                                                                           Schedule G
                                                                                         Master Hydraulics



    3.25     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line   4.83
                                                                                           Schedule G
                                                                                         MAT Construction, Inc.



    3.26     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.84
                                                                                           Schedule G
                                                                                         McGladrey, LLP



    3.27     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.85
                                                                                           Schedule G
                                                                                         McMaster-Carr




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 4 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.28     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line      4.87
                                                                                           Schedule G
                                                                                         Meltzer, Purtill, & Steele, LLC



    3.29     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line   4.89
                                                                                           Schedule G
                                                                                         Midcity Plumbing, Inc.



    3.30     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.91
                                                                                           Schedule G
                                                                                         Mohr Oil Co.



    3.31     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.93
                                                                                           Schedule G
                                                                                         NAPA Genuine Parts Co.



    3.32     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.95
                                                                                           Schedule G
                                                                                         National Demolition Association



    3.33     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line     4.96
                                                                                           Schedule G
                                                                                         National Lift Truck, Inc



    3.34     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.99
                                                                                           Schedule G
                                                                                         Nicor Gas (Jobs)



    3.35     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.100
                                                                                           Schedule G
                                                                                         North Shore Gas




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 5 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.36     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.102
                                                                                           Schedule G
                                                                                         O'Leary Contractors



    3.37     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.103
                                                                                           Schedule G
                                                                                         Office of Emergency Management



    3.38     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.106
                                                                                           Schedule G
                                                                                         Patten Industries, Inc.



    3.39     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.111
                                                                                           Schedule G
                                                                                         Peoples Gas



    3.40     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.112
                                                                                           Schedule G
                                                                                         PetroLiance, LLC.



    3.41     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.114
                                                                                           Schedule G
                                                                                         PowerPlan



    3.42     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line   4.116
                                                                                           Schedule G
                                                                                         Praire State Water Systems, Inc.



    3.43     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.117
                                                                                           Schedule G
                                                                                         Rapid Recovery, Inc.




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 6 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.44     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.120
                                                                                           Schedule G
                                                                                         Republic Services Trash



    3.45     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.125
                                                                                           Schedule G
                                                                                         Schaeffer Mfg. Co.



    3.46     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line   4.130
                                                                                           Schedule G
                                                                                         The Horton Group ,Inc.



    3.47     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.131
                                                                                           Schedule G
                                                                                         Town of Cicero



    3.48     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line   4.134
                                                                                           Schedule G
                                                                                         Tyco Integrated Security



    3.49     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.139
                                                                                           Schedule G
                                                                                         Van Hoesen Industries, Inc.



    3.50     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.140
                                                                                           Schedule G
                                                                                         Verizon Wireless



    3.51     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line    4.141
                                                                                            Schedule G
                                                                                         Village of Elk Grove Village




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 7 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.52     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line   4.142
                                                                                            Schedule G
                                                                                         Village of Franklin Park



    3.53     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line   4.143
                                                                                            Schedule G
                                                                                         Village of Oak Brook



    3.54     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line   4.144
                                                                                            Schedule G
                                                                                         Village of Skokie



    3.55     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.151
                                                                                           Schedule G
                                                                                         Wisco Ind. Supply



    3.56     DMD Demolition                                                               Schedule D, line
                                                                                          Schedule E/F, line     4.152
                                                                                          Schedule G
                                                                                         WSI Infiinet Results, LLC.



    3.57     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line 4.2
                                                                                            Schedule G
                                                                                         Allstate-Commercial Auto Policy



    3.58     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.6
                                                                                           Schedule G
                                                                                         AT&T



    3.59     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.8
                                                                                           Schedule G
                                                                                         AT&T Capital Services




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 8 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.60     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line   4.10
                                                                                            Schedule G
                                                                                         Atlas Bobcat, Inc.



    3.61     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.11
                                                                                           Schedule G
                                                                                         Axis Response Group



    3.62     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.9
                                                                                           Schedule G
                                                                                         AT&T RM



    3.63     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.18
                                                                                           Schedule G
                                                                                         Capital One Bank (USA)



    3.64     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.17
                                                                                           Schedule G
                                                                                         Capital One



    3.65     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.19
                                                                                           Schedule G
                                                                                         Cardmember Service



    3.66     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line   4.20
                                                                                           Schedule G
                                                                                         Central Laborer Fringe Benefit Act.



    3.67     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.24
                                                                                           Schedule G
                                                                                         Christofano Equipment Co., Inc.




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 9 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.68     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line  4.27
                                                                                            Schedule G
                                                                                         City of Chicago Dept. of Finance



    3.69     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line  4.28
                                                                                            Schedule G
                                                                                         City of Chicago Dept. Revenue



    3.70     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line 4.26
                                                                                            Schedule G
                                                                                         City of Chicago Cost Recovery



    3.71     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.31
                                                                                           Schedule G
                                                                                         Commercial Creidt Group



    3.72     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.34
                                                                                           Schedule G
                                                                                         Everlights



    3.73     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.35
                                                                                           Schedule G
                                                                                         Ford Creidt



    3.74     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.44
                                                                                           Schedule G
                                                                                         HUB International Midwest



    3.75     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.45
                                                                                           Schedule G
                                                                                         HUB International Midwest Limited




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 10 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.76     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.46
                                                                                           Schedule G
                                                                                         IDES



    3.77     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.52
                                                                                           Schedule G
                                                                                         IUOE



    3.78     DMD Demolition                                                                 Schedule D, line
                                                                                            Schedule E/F, line   4.47
                                                                                            Schedule G
                                                                                         IL OS/OW Permits



    3.79     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.58
                                                                                           Schedule G
                                                                                         Laborers Pension & Welfare Funds



    3.80     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.61
                                                                                           Schedule G
                                                                                         Laborers Work Dues Fund



    3.81     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.68
                                                                                           Schedule G
                                                                                         Local 731 Checkoff



    3.82     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.69
                                                                                           Schedule G
                                                                                         Local 731 I.B. of T



    3.83     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.70
                                                                                           Schedule G
                                                                                         Local 731 I.B. of T Pension




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 11 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.84     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.71
                                                                                           Schedule G
                                                                                         Local 731 I.B. of T Welfare



    3.85     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.74
                                                                                           Schedule G
                                                                                         M.O.E. CRF



    3.86     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.76
                                                                                           Schedule G
                                                                                         M.O.E. Pension Trust Fund



    3.87     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.77
                                                                                           Schedule G
                                                                                         M.O.E. Retirement Enhancement Fund



    3.88     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.78
                                                                                           Schedule G
                                                                                         M.O.E. Vacation Savings Plan



    3.89     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.79
                                                                                           Schedule G
                                                                                         M.O.E. Welfare Fund



    3.90     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line   4.75
                                                                                           Schedule G
                                                                                         M.O.E. Fringe Benefits Funds



    3.91     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.80
                                                                                           Schedule G
                                                                                         M.S.P. Construction




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 12 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.92     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.81
                                                                                           Schedule G
                                                                                         M.T. Transit, Inc.



    3.93     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.92
                                                                                           Schedule G
                                                                                         Murphy's Contractors Equipment, Inc



    3.94     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.98
                                                                                           Schedule G
                                                                                         Nicor Gas



    3.95     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.104
                                                                                           Schedule G
                                                                                         P & G Keene



    3.96     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.108
                                                                                           Schedule G
                                                                                         Paychex



    3.97     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line    4.109
                                                                                           Schedule G
                                                                                         Payless Car Rental



    3.98     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line  4.110
                                                                                           Schedule G
                                                                                         Paypal Buyer CredIt/GEMB



    3.99     DMD Demolition                                                                Schedule D, line
                                                                                           Schedule E/F, line 4.115
                                                                                           Schedule G
                                                                                         Powerscreen of Chicago, LTD.




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 13 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.10     DMD Demolition                                                                Schedule D, line
    0                                                                                      Schedule E/F, line  4.118
                                                                                           Schedule G
                                                                                         Recycling Systems, Inc.



    3.10     DMD Demolition                                                                Schedule D, line
    1                                                                                      Schedule E/F, line   4.119
                                                                                           Schedule G
                                                                                         Reliable Asphalt Corp.



    3.10     DMD Demolition                                                                Schedule D, line
    2                                                                                      Schedule E/F, line 4.123
                                                                                           Schedule G
                                                                                         Sandvik Customer Finance



    3.10     DMD Demolition                                                                Schedule D, line
    3                                                                                      Schedule E/F, line 4.124
                                                                                           Schedule G
                                                                                         Sargent Equipment & Repair Service



    3.10     DMD Demolition                                                                Schedule D, line
    4                                                                                      Schedule E/F, line  4.127
                                                                                           Schedule G
                                                                                         Scottsdale Insurance Co.



    3.10     DMD Demolition                                                                Schedule D, line
    5                                                                                      Schedule E/F, line     4.132
                                                                                           Schedule G
                                                                                         Tredoc Tire Services



    3.10     DMD Demolition                                                                Schedule D, line
    6                                                                                      Schedule E/F, line     4.133
                                                                                           Schedule G
                                                                                         Truck Tire Sales, Inc.



    3.10     DMD Demolition                                                                Schedule D, line
    7                                                                                      Schedule E/F, line     4.136
                                                                                           Schedule G
                                                                                         United Rent-A-Fence




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 14 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.10     DMD Demolition                                                                Schedule D, line
    8                                                                                      Schedule E/F, line    4.135
                                                                                           Schedule G
                                                                                         U.S. Treasury Internal Rev. Service



    3.10     DMD Demolition                                                                Schedule D, line
    9                                                                                      Schedule E/F, line    4.137
                                                                                           Schedule G
                                                                                         US Fabrics, Inc.



    3.11     DMD Demolition                                                                Schedule D, line
    0                                                                                      Schedule E/F, line    4.145
                                                                                           Schedule G
                                                                                         Waste Management



    3.11     DMD Demolition                                                                Schedule D, line
    1                                                                                      Schedule E/F, line 4.146
                                                                                           Schedule G
                                                                                         Waste Management -CID RDF



    3.11     DMD Demolition                                                                Schedule D, line
    2                                                                                      Schedule E/F, line  4.148
                                                                                           Schedule G
                                                                                         Waste Mgmt. Bluff City Transfer



    3.11     DMD Demolition                                                                Schedule D, line
    3                                                                                      Schedule E/F, line    4.32
                                                                                           Schedule G
                                                                                         Countryside Landfill



    3.11     DMD Demolition                                                                Schedule D, line
    4                                                                                      Schedule E/F, line    4.63
                                                                                           Schedule G
                                                                                         Laraway RDF



    3.11     DMD Demolition                                                                Schedule D, line
    5                                                                                      Schedule E/F, line 4.147
                                                                                           Schedule G
                                                                                         Waste Management of Illinois




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 15 of 16
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 Debtor 1 Jacqueline J DiSilvio                                                     Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     DMD Demolition                                                                Schedule D, line
    6                                                                                      Schedule E/F, line  4.149
                                                                                           Schedule G
                                                                                         Waveland Recycling, Inc.



    3.11     DMD Demolition                                                                Schedule D, line
    7                                                                                      Schedule E/F, line  4.150
                                                                                           Schedule G
                                                                                         West Side Tractor Sales



    3.11     DMD Demolition                                                                Schedule D, line
    8                                                                                      Schedule E/F, line   4.94
                                                                                           Schedule G
                                                                                         National Advertisers Acc. Inc.



    3.11     DMD Demolitions                                                               Schedule D, line
    9                                                                                      Schedule E/F, line 4.60
                                                                                           Schedule G
                                                                                         Laborers Pension Fund



    3.12     DMD Demolitions                                                               Schedule D, line
    0                                                                                      Schedule E/F, line  4.73
                                                                                           Schedule G
                                                                                         M.O.E. Apprenticeship Fund



    3.12     DMD Demoltion                                                                  Schedule D, line
    1                                                                                       Schedule E/F, line 4.49
                                                                                            Schedule G
                                                                                         Internal Revenue Service



    3.12     DMD Demoltion                                                                 Schedule D, line
    2        24 Glenoble Ct.                                                               Schedule E/F, line 4.59
             Oak Brook, IL 60523
                                                                                           Schedule G
                                                                                         Laborers Pension & Welfare Training




Official Form 106H                                                   Schedule H: Your Codebtors                              Page 16 of 16
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Fill in this information to identify your case:

Debtor 1                      Jacqueline J DiSilvio

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Retired
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00    $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
Debtor 1    Jacqueline J DiSilvio                                                                 Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
      5e.    Insurance                                                                     5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
      5g.    Union dues                                                                    5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $               N/A
      8d. Unemployment compensation                                                        8d.        $          0.00         $               N/A
      8e. Social Security                                                                  8e.        $      1,778.00         $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                     N/A
      8g. Pension or retirement income                                                     8g. $               544.76   $                     N/A
      8h. Other monthly income. Specify: Friend and Family Assistance                      8h.+ $            1,000.00 + $                     N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,322.76         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,322.76 + $             N/A = $          3,322.76
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         3,322.76
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
Fill in this information to identify your case:

Debtor 1                 Jacqueline J DiSilvio                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            2,674.43

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
Debtor 1     Jacqueline J DiSilvio                                                                     Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 150.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 210.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 200.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                500.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  10.00
11.   Medical and dental expenses                                                            11. $                                                  20.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                    0.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                    0.00
14.   Charitable contributions and religious donations                                       14. $                                                    0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  470.00
      15c. Vehicle insurance                                                               15c. $                                                  100.00
      15d. Other insurance. Specify: Prescription Insurance                                15d. $                                                  160.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  705.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet food and care                                                   21. +$                                                 30.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,279.43
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,279.43
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,322.76
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,279.43

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,956.67

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Hope to settle second mortgage for the 1,000.00 per month expense.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
 Fill in this information to identify your case:

 Debtor 1                    Jacqueline J DiSilvio
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Jacqueline J DiSilvio                                                 X
              Jacqueline J DiSilvio                                                     Signature of Debtor 2
              Signature of Debtor 1

              Date       October 5, 2017                                                Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Jacqueline J DiSilvio
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                              $0.00         Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




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 Debtor 1      Jacqueline J DiSilvio                                                                       Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                              Wages, commissions,                              $0.00         Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $24,850.00           Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until SSI                                                       $34,980.00
 the date you filed for bankruptcy:   Benefits/Pension/Med
                                                   icaid (Est for all 2017)

 For last calendar year:                           SSI                                          $34,980.00
 (January 1 to December 31, 2016 )                 Benefits/Pension/Med
                                                   icaid

 For the calendar year before that:                SSI                                          $36,564.00
 (January 1 to December 31, 2015 )                 Benefits/Pension/Med
                                                   icaid H&W

                                                   Capital gain/loss                              $8,975.00
                                                   H&W

                                                   Real Estate H&W                                $1,377.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.




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 Debtor 1      Jacqueline J DiSilvio                                                                       Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Northbrook Bank & Trust Co. v.                            Collection                 Circuit Court, Cook County                 Pending
       Disilvio et al.                                                                                                                 On appeal
       2012 L 050706
                                                                                                                                       Concluded


       HSBC Bank USA, NA v. Disilvio                             Foreclosure                Circuit Court, Cook County                 Pending
       2017 CH 04431                                                                                                                   On appeal
                                                                                                                                       Concluded


       International Union of Ops Eng                            Collection                 ND ILL                                     Pending
       Local 150, AFL CIO v. DMD                                                                                                       On appeal
       Services, Inc. et al
                                                                                                                                       Concluded
       2016 C 9511

       Patten Industries, Inc. v. DMD                            Collection                 Circuit Court of DuPage                    Pending
       Services, Inc.                                                                       County                                     On appeal
       2015 AR 588
                                                                                                                                       Concluded



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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 Debtor 1      Jacqueline J DiSilvio                                                                       Case number (if known)



       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Midcity Plumbing v. Disilvio et al                        Collection                 Circuit Court Cook County                   Pending
       2015 M1 109306                                                                                                                   On appeal
                                                                                                                                        Concluded


       Estate of Dominick J. Disilvio                            Probate of                 Circuit Court Cook County                   Pending
       15 P 3727                                                 Deceased                                                               On appeal
                                                                 Spouse's Estate
                                                                                                                                        Concluded


       Heartland Recycling LLC v. Disilvio                       Collection                 Circuit Court Cook County                   Pending
       et al                                                                                                                            On appeal
       2016 M1 118028
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)




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 Debtor 1      Jacqueline J DiSilvio                                                                       Case number (if known)



 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Law Offices of Konstantine Sparagis                           $2100 Attorney Fees,                                     2017                      $2,500.00
       900 W. Jackson Blvd., Ste. 4E                                 $ 65    Credit Counseling and Debtor
       Chicago, IL 60607                                             Education Courses,
                                                                     $ 335   Filing Fees


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made
       Law Offices of Konstantine Sparagis                           $1000                                                    2017                      $1,000.00
       900 W. Jackson Blvd., Ste. 4E
       Chicago, IL 60607


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Heritage Cadillac                                             Returned leased 2014                       2014 Cadillac                   4/17
                                                                     Cadillac CTS on purchase of
                                                                     new vehicle listed on
       None                                                          Schedule B




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 Debtor 1      Jacqueline J DiSilvio                                                                        Case number (if known)



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                     Date Transfer was
                                                                                                                                           made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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 Debtor 1      Jacqueline J DiSilvio                                                                            Case number (if known)



24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       DMD Services, Inc.                                        Demolition Contractors                              EIN:       XX-XXXXXXX
       485 Podlin Dr.
       Franklin Park, IL 60131                                   Larry Baskin at RSM US LLP                          From-To    1987-2016

       32 E. Lake Street, LLC                                    Owned Real Estate                                   EIN:

                                                                 Larry Baskin at RSM US LLP                          From-To    2005 to 2013

       DMD Demolition Corporation                                Demolition Contractors                              EIN:
       368 N Baynard
       Addison, IL 60101                                                                                             From-To    2011 - 2013


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
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 Debtor 1      Jacqueline J DiSilvio                                                                       Case number (if known)



        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Northbrook Bank
        1100 Waulkegan Rd
        Northbrook, IL 60062

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Jacqueline J DiSilvio
 Jacqueline J DiSilvio                                                   Signature of Debtor 2
 Signature of Debtor 1

 Date      October 5, 2017                                               Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 8
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 Fill in this information to identify your case:

 Debtor 1                 Jacqueline J DiSilvio
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         HSBC                                                 Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 24 Glenoble Ct Oak Brook, IL                             Reaffirmation Agreement.
    property       60523 Cook County                                        Retain the property and [explain]:
    securing debt: Individual Real Estate



    Creditor's         Northbrook Bank                                      Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       24 Glenoble Ct Oak Brook, IL                       Reaffirmation Agreement.
    property             60523 Cook County                                  Retain the property and [explain]:
    securing debt:       Individual Real Estate



    Creditor's         Santander Consumer Usa                               Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2016 Cadillac CTS 2000 miles                       Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Jacqueline J DiSilvio                                                                 Case number (if known)


     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                             Will the lease be assumed?

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Lessor's name:                                                                                                                  No
 Description of leased
 Property:                                                                                                                       Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Jacqueline J DiSilvio                                                    X
       Jacqueline J DiSilvio                                                            Signature of Debtor 2
       Signature of Debtor 1

       Date        October 5, 2017                                                  Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                     page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Jacqueline J DiSilvio                                                                            Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,100.00
             Prior to the filing of this statement I have received                                        $                     2,100.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 5, 2017                                                             /s/ Konstantine Sparagis
     Date                                                                        Konstantine Sparagis 6256702
                                                                                 Signature of Attorney
                                                                                 Law Offices Of Konstantine Sparagis
                                                                                 900 W. Jackson Blvd.
                                                                                 Ste. 4E
                                                                                 Chicago, IL 60607
                                                                                 312.753.6956 Fax: 866.333.1840
                                                                                 gus@atbankruptcy.com
                                                                                 Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Jacqueline J DiSilvio                                                                       Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                        278




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date: October 5, 2017                                                 /s/ Jacqueline J DiSilvio
                                                                       Jacqueline J DiSilvio
                                                                       Signature of Debtor




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    Adam C. Toosely
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    311 S. Wacker Dr., Ste. 3000
    Chicago, IL 60606


    Allstate-Commercial Auto Policy
    PO BOX 4344
    Carol Stream, IL 60197


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    Po Box 297871
    Fort Lauderdale, FL 33329


    Amex Dsnb
    9111 Duke Blvd
    Mason, OH 45040


    AT & T Business
    PO Box 5080
    Carol Stream, IL


    AT&T
    PO Box 5080
    Carol Stream, IL 60197


    AT&T Capital Services
    13160 Collections Center Dr.


    AT&T Capital Services
    13160 Collections Center Dr.
    Chicago, IL 60693


    AT&T RM
    909 Chestnut St
    Saint Louis, MO 63101


    Atlas Bobcat, Inc.
    5050 N. River Rd.
    Schiller Park, IL 60176


    Axis Response Group
    1134 Wildwood Ln
    Glenview, IL 60025
Blue Cross Blue Shield of Illinois
300 East Randolph Street
Chicago, IL 60601


Bluebook
PO Box 500
Jefferson Valley, NY 10535


Bluff City Materials
2252 Southwind Blvd
Bartlett, IL 60103


Capital One
Po Box 30281
Salt Lake City, UT 84130


Capital One
Po Box 30281
Salt Lake City, UT 84130


Capital One
P.O. Box 5294
Carol Stream, IL 60197


Capital One Bank (USA)
PO Box 6492
Carol Stream, IL 60197


Cardmember Service
 PO BOX 15153
Wilmington, DE 19886


Central Laborer Fringe Benefit Act.
PO Box 1267
Jacksonville, IL 62651


Chase Card
Po Box 15298
Wilmington, DE 19850


Chicago Tire, Inc.
16001 Van Drunen Rd Ste 2
South Holland, IL 60473
Chicago Trucking Inc.
5494 W. Roosevelt Rd.
Chicago, IL 60644


Christofano Equipment Co., Inc.
643 Harlem Ave
Chicago Ridge, IL 60415


Chuhak & Tecson
30 S. Wacker Dr., 26th Fl
Chicago, IL 60606


City of Chicago Cost Recovery
PO Box 88292
Chicago, IL 60680


City of Chicago Dept. of Finance
PO Box 88292
Chicago, IL 60680


City of Chicago Dept. Revenue
PO Box 88292
Chicago, IL 60680


ComEd
PO Box 6111
Carol Stream, IL 60197


Commercial Credit Group, Inc.
2135 City Gate Lane, Ste. 440
Naperville, IL 60563


Commercial Creidt Group
2135 City Gate Ln
Naperville, IL 60563


Countryside Landfill
PO Box 4647
Carol Stream, IL 60188


DMD Demolision
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DMD Demolition



DMD Demolition



DMD Demolition



DMD Demolition



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DMD Demoltion
24 Glenoble Ct.
Oak Brook, IL 60523


Dsnb Bloom
9111 Duke Blvd
Mason, OH 45040


Everlights
8027 N. Lawndale Avenue
Skokie, IL 60076


Ford Creidt
P.O. Box 790119
Saint Louis, MO 63179


Future Environmental
 19701 S. 97th Avenue
Mokena, IL 60448
Gensco Equipment
53 Carlaw Ave.
Toronto, Canada


Grainger, Inc.
Mw H-11
Palatine, IL 60038


Heartland Recycling, LLC
J Haber/Kalcheim Haber LLC
134 N LaSalle St., Ste. 2100
Chicago, IL 60602


Heartland Recycling, LLC
J Haber/Kalcheim Haber LLC
134 N LaSalle St., Ste. 2100
Chicago, IL 60602


Home Depot Creidt Ser.
PO BOX 6029 THE LAKES NV
The Lakes, NV 88901


Horan Screening & Crushing, Inc.
 2328 E Lincoln Highway
Joliet, IL 60436


Hoving Pitstop
2351 Powis Rd
West Chicago, IL 60185


HSBC
P.O. Box 0117
Palatine, IL 60055


HUB International Midwest
55 E. Jackson Blvd
Chicago, IL 60604


HUB International Midwest Limited
601 Oakmont Lane
Westmont, IL 60559


IDES
33 South State Street
Chicago, IL 60603
IL OS/OW Permits
2300 S. Dirksen Parkway
Springfield, IL 62764


Int'l Union of Ops Eng Local 150
c/o Steven Davidson
6140 Joliet Rd.
La Grange, IL 60525


Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101


Internal Revenue Service
P.O. Box 802501
Cincinnati, OH 45280


Interunited Trucking Corp.
c/o Lyman & Nielsen LLC
1301 W 22nd St., Ste. 914
Oak Brook, IL 60523


Interunited Trucking Corp.
c/o Lyman & Nielsen LLC
1301 W 22nd St., Ste. 914
Oak Brook, IL 60523


IUOE
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Chicago, IL 60690


JP Construction, Inc.
Elizabeth Efird
1997 W. Greenleaf Dr.
Round Lake, IL 60073


JP General Construction, Inc.
300 W Golf Rd
Mount Prospect, IL 60056


KCS Computer Technology Inc.
9524 Franklin Avenue
Franklin Park, IL 60131
Konica Minolta Business Solutions
21146 Network Place
Chicago, IL 60673


Konica Minolta Business Systems
3020 Woodcreek Drive Suite E
Downers Grove, IL 60515


Laborers Pension & Welfare Funds
33367 Treasury Center
Chicago, IL 60694


Laborers Pension & Welfare Training
33367 Treasury Center
Chicago, IL 60694


Laborers Pension Fund
11465 W. Cermak Road
Westchester, IL 60154


Laborers Work Dues Fund
Department 4334
Carol Stream, IL 60122


Lakeshore Recycling Systems
3152 S California Ave
Chicago, IL 60608


Laraway RDF
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Carol Stream, IL 60188


Law Offices of Ira T Nevel
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Chicago, IL 60606


Leach Enterprises, Inc.
4304 IL-176
Crystal Lake, IL 60014


Liberty Mutual Insurance Company
1 N. Franklin Street, Suite 3025
Chicago, IL 60606
Lindahl Bros, Inc.
622 E Green St
Bensenville, IL 60106


Local 731 Checkoff
1000 Burr Ridge Pkwy
Willowbrook, IL 60527


Local 731 I.B. of T
1000 Burr Ridge Pkwy
Willowbrook, IL 60527


Local 731 I.B. of T Pension
1000 Burr Ridge Pkwy
Willowbrook, IL 60527


Local 731 I.B. of T Welfare
1000 Burr Ridge Pkwy
Willowbrook, IL 60527


Local 731, LMCC Task Force
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M.O.E. Apprenticeship Fund
P.O. BOX 74632
Chicago, IL 60675


M.O.E. CRF
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Chicago, IL 60675


M.O.E. Fringe Benefits Funds
6150 Joliet Rd
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M.O.E. Pension Trust Fund
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Chicago, IL 60675


M.O.E. Retirement Enhancement Fund
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Chicago, IL 60675
M.O.E. Vacation Savings Plan
P.O. BOX 74632
Chicago, IL 60675


M.O.E. Welfare Fund
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Chicago, IL 60675


M.S.P. Construction
v
Bolingbrook, IL 60440


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Chicago, IL 60609


Master Hydraulics
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Schaumburg, IL 60193


MAT Construction, Inc.
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Chicago, IL 60609


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Schaumburg, IL 60173


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La Grange, IL 60525


Meltzer, Purtill, & Steele, LLC
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Midcity Plumbing
c/o Michael Higgins
6204 W 63rd St.
Chicago, IL 60638
Midcity Plumbing, Inc.
321 S County Line
Franklin Park, IL 60131


Mohr Oil Co.
c/o Edmund P Wanderling
2505 S Des Plaines Ave.
Riverside, IL 60546


Mohr Oil Co.
7340 Harrison St
Forest Park, IL 60130


Murphy's Contractors Equipment, Inc
2420 N River Rd
River Grove, IL 60171


NAPA Genuine Parts Co.
5959 Collections Center Drive
Chicago, IL 60693


National Advertisers Acc. Inc.
P.O Box 595
Mount Prospect, IL 60056


National Demolition Association
16 N Franklin St
Doylestown, PA 18901


National Lift Truck, Inc
3333 Mt Prospect Rd
Franklin Park, IL 60131


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North Shore Gas
3001 Grand Ave
Waukegan, IL 60085


Northbrook Bank
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Northbrook, IL 60062


Northbrook Bank
1100 Waulkegan Rd
Northbrook, IL 60062


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Chicago, IL 60651


Office of Emergency Management
121 N LaSalle Dr
Chicago, IL 60602


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Ryd Law Group, P.C.
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Oak Brook, IL 60523


Patten Industries, Inc.
635 W. Lake St
Elmhurst, IL 60126


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Michael J. Goldstein & Assoc.
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Chicago, IL 60602


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Chicago, IL 60606


Payless Car Rental
5401 W 47th St
Chicago, IL 60638
Paypal Buyer CredIt/GEMB
 PO Box 960080
Orlando, FL 32896


Peoples Gas
130 East Randolph Drive
Chicago, IL 60601


PetroLiance, LLC.
PO Box 636824
Cincinnati, OH 45263


Phh Mortgage Service
1 Mortgage Way
Mount Laurel, NJ 08054


PowerPlan
P.O. Box 650215
Dallas, TX 75265


Powerscreen of Chicago, LTD.
1212 S NAPER BLVD.
Naperville, IL 60540


Praire State Water Systems, Inc.
48W557 IL-64
Maple Park, IL 60151


Rapid Recovery, Inc.
8945 W Bloomfield Rd
Peoria, AZ 85381


Recycling Systems, Inc.
3152 S California Ave
Chicago, IL 60608


Reliable Asphalt Corp.
2250 Southwind Blvd
Bartlett, IL 60103


Republic Services Trash
2608 S Damen Ave
Chicago, IL 60608
Richard J Clarson Local 731
Dowd Bloch Bennet et al.
8 S. Michigan Ave., 19th Fl
Chicago, IL 60603


Rushmore Loan Mgmt
PO Box 55004
Irvine, CA 92619


Sandvik Customer Finance
300 TECHNOLOGY COURT
Smyrna, GA 30082


Santander Consumer Usa
Po Box 961245
Ft Worth, TX 76161


Sargent Equipment & Repair Service
281 E Sauk Trl
Chicago Heights, IL 60411


Schaeffer Mfg. Co.
102 Barton Street
Saint Louis, MO 63104


Scottsdale Insurance
c/o the CKB Firm
30 N. LaSalle, #1520
Chicago, IL 60602


Scottsdale Insurance Co.
P.O. Box 4120
Scottsdale, AZ 85261


State Farm Fire
c/o Simon & McClosky Ltd.
120 W. Madison, Ste. 1100
Chicago, IL 60602


State Farm Mutual
c/o James Odea
10707 W. 159th St.
Orland Park, IL 60467
The Horton Group ,Inc.
10320 Orland Parkway
Orland Park, IL 60467


Town of Cicero
4949 W. Cermak Rd
Cicero, IL 60804


Tredoc Tire Services
P.O. Box 1248
Bedford Park, IL 60499


Truck Tire Sales, Inc.
426 W Pershing Rd
Chicago, IL 60609


Tyco Integrated Security
2010 Swift Drive
Oak Brook, IL 60523


U.S. Treasury Internal Rev. Service
1500 Pennsylvania Avenue
Washington, DC 20220


United Rent-A-Fence
1500 W Fullerton Ave
Addison, IL 60101


US Fabrics, Inc.
3904 Virginia Ave
Cincinnati, OH 45227


Van Hoesen Industries, Inc.
Lichtman Eisen P'ners, Ltd.
222 N. LaSalle St., Ste. 300
Chicago, IL 60601


Van Hoesen Industries, Inc.
7n458 Garden Ave
Roselle, IL 60172


Verizon Wireless
 PO Box 25505
Lehigh Valley, PA 18002
Village of Elk Grove Village
901 Wellington Ave
Elk Grove Village, IL 60007


Village of Franklin Park
9451 W. Belmont
Franklin Park, IL 60131


Village of Oak Brook
1200 Oak Brook Rd
Oak Brook, IL 60523


Village of Skokie
5127 Oakton St
Skokie, IL 60077


Waste Management
 PO Box 4647
Carol Stream, IL 60197


Waste Management -CID RDF
P.O. Box 30241
Lansing, MI 48909


Waste Management of Illinois
PO Box 4648
Carol Stream, IL 60197


Waste Mgmt. Bluff City Transfer
1247 Gifford Rd.
Elgin, IL 60121


Waveland Recycling, Inc.
10525 Waveland Ave
Franklin Park, IL 60131


West Side Tractor Sales
1400 Ogden Ave
Naperville, IL 60563


Wisco Ind. Supply
P.O. Box 88666
Chicago, IL 60680
WSI Infiinet Results, LLC.
362 E 4 Mile Rd
Racine, WI 53402
